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                                                     UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF KANSAS

                         MICHAEL T. KERN,                                )
                                                                         )
                                                  Plaintiffs,            )
                                                                         )
                         vs.                                             )
                                                                         )
                         CENTRAL KANSAS MEDICAL                          )   Case No. 6:14-CV-01386
                         CENTER d/b/a ST. ROSE                           )
                         AMBULATORY & SURGERY CENTER;                    )
                         and REHABCARE GROUP                             )
                         MANAGEMENT SERVICES, INC.,                      )
                                                                         )
                                                  Defendant.             )

                                       STIPULATION OF DISMISSAL WITHOUT PREJUDICE

                               COME NOW the parties in the above-entitled action, by and through their counsel of

                        record, pursuant to Rule 41(a)(1)(ii) , and stipulate that the cause of action against defendants,

                        Central Kansas Medical Center d/b/a St. Rose Ambulatory & surgery Center, and RehabCare

                        Group Management Services, Inc. is hereby dismissed without prejudice to refiling.

                               IT IS SO STIPULATED.

HUTTON                  Submitted and Approved by:
& HUTTON

Tallgrass Exec. Park
                        HUTTON & HUTTON
8100 E. 22nd Street
N.
Building 1200
Wichita, Kansas         s:/Daniel K. Back
67226-2312              Anne M. Hull, #14436
Mailing Address:        Daniel K. Back, #23192
P.O. Box 638            8100 E. 22nd Street North, Bldg. 1200
Wichita, Kansas
67201-0638
                        Wichita, KS 67226
                        Phone: (316) 688-1166
(316) 688-1166          Fax: (316) 686-1077
(316) 686-1077 (fax)
www.huttonlaw.com       E-mail: daniel.back@huttonlaw.com

                        Attorneys for Plaintiff
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                        Approved by:

                        WOODARD, HERNANDEZ, ROTH & DAY, L.L.C.



                        s:/Christopher Cole
                        Christopher Cole, #16343
                        245 N. Waco, Suite 260
                        P.O. Box 127
                        Wichita, KS 67201-0127
                        Phone: (316) 263-4958
                        Fax:     (316) (316) 263-0125

                        Attorneys for Defendant Central Kansas Medical Center
                        d/b/a St. Rose Ambulatory & Surgery Center

                        SCHARNHORST AST KENNARD GRIFFIN, PC



                        s:/Christopher C. Tillery
                        Christopher C. Tillery, #22628
                        Todd A. Scharnhorst, #16863
                        100 Walnut, Suite 1950
                        Kansas City, Missouri 64106
                        Phone: (816) 268-9400
                        Fax: (816) 268-9409

                        Attorneys for Defendant RehabCare Group Management Services, Inc.
HUTTON
& HUTTON

Tallgrass Exec. Park
8100 E. 22nd Street
N.
Building 1200
Wichita, Kansas
67226-2312

Mailing Address:
P.O. Box 638
Wichita, Kansas
67201-0638

(316) 688-1166
(316) 686-1077 (fax)
www.huttonlaw.com




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